Case 1:19-cv-01343-RGA          Document 702         Filed 12/27/22    Page 1 of 2 PageID #: 58078




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED, and                           )
   SHURE ACQUISITION HOLDINGS, INC.,                 )
                                                     )
            Plaintiffs and Counter-Defendants,       )
                                                     )
                   v.                                ) C.A. No. 19-1343 (RGA) (CJB)
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
            Defendant and Counter-Plaintiff.         )


                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           This stipulation is made by and between Plaintiffs and Counter-Defendants Shure

  Incorporated and Shure Acquisition Holdings, Inc. (together, "Shure"), and Defendant and

  Counter-Plaintiff ClearOne, Inc. ("ClearOne") (collectively, "the Parties").

           WHEREAS, Shure and ClearOne have asserted various claims, counterclaims, and

  requests for relief in the above-captioned case;

           WHEREAS, the Parties have entered into a settlement agreement to resolve this action for

  good cause and valuable consideration, and mutually agree to voluntarily dismiss all claims,

  counterclaims, and requests for relief asserted in the above-captioned case with prejudice;

           THEREFORE, IT IS HEREBY JOINTLY STIPULATED by the Parties that:

           Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the above-

  captioned action, including all claims, counterclaims, defenses, demands, and any other requests

  for relief are hereby dismissed in their entirety with prejudice. The parties shall bear their own

  attorney fees and costs. The parties agree that no party shall seek any award of costs, expenses

  and/or attorneys' fees in this matter, either pursuant to Rule 54 of the Federal Rules of Civil

  Procedure, or any other rule or statute.



 ME1 43820098v.1                                     1
Case 1:19-cv-01343-RGA         Document 702   Filed 12/27/22       Page 2 of 2 PageID #: 58079




   Dated: December 27, 2022

   MCCARTER & ENGLISH, LLP                        MORRIS, NICHOLS, ARSHT & TUNNELL
                                                  LLP

   /s/ Alexandra M. Joyce                         /s/ Michael J. Flynn
   Brian R. Lemon (#4730)                         Michael J. Flynn (#5333)
   Alexandra M. Joyce (#6423)                     1201 North Market Street
   405 N. King Street, 8th Floor                  P.O. Box 1347
   Wilmington, DE 19801                           Wilmington, DE 19899
   (302) 984-6300                                 (302) 658-9200
   blemon@mccarter.com                            mflynn@morrisnichols.com
   ajoyce@mccarter.com
                                                  Attorneys for Defendant
   Attorneys for Plaintiffs




 ME1 43820098v.1                              2
